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                 Exhibit 1
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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA
                                  SOUTHERN DIVISION

DRUMMOND COMPANY, INC.,                          )
                                                 )
        Plaintiff ,                              )
                                                 )     Case No. 2:11-cv-3695-RDP-TMP
                                                 )
vs.                                              )     Contains information designated as
                                                 )
TERRENCE P. COLLINGSWORTH,                       )     “Confidential Information” under the
individually and as agent of Conrad & Scherer,   )     Protective Order.
LLP; and CONRAD & SCHERER, LLP,                  )
                                                 )     OPPOSED
                                                 )
        Defendants .                             )




      DRUMMOND COMPANY, INC.’S MOTION FOR SPOLIAITON SANCTIONS



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        Drummond hereby moves for spoliation sanctions against Defendants pursuant to Rule

37 and this Court’s inherent powers.

                                              *        *       *

        On March 12, 2015, Defendants disclosed to Drummond and this Court that large swaths

of Mr. Collingsworth’s emails have been irretrievably “disposed of” during the course of this

litigation, as well as the computers and external storage devices which would have housed this

information.      Indeed, when Defendants’ forensic computer expert first looked at Mr.

Collingsworth’s email accounts, there were no emails whatsoever prior to March 23, 2013

contained in Mr. Collingsworth’s Conrad & Scherer Inbox, or in the Inbox or Sent Items of his

IRAdvocates email account.1 Even after forensic data recovery efforts by Defendants’ expert,

there remain large “gaps” in Mr. Collingsworth’s emails which correspond with the most critical

time periods in this case.

        The effect of the loss of this evidence cannot be overstated. Defendants have repeatedly

demonstrated a refusal to disclose, and indeed lie about, critical facts until they are caught with a

document revealing the truth. The spoliation of thousands of Mr. Collingsworth’s emails means

the full truth may never be discovered.

        Simply put, Defendants’ spoliation of this crucial evidence, standing alone, warrants

severe sanctions. But when coupled with Defendants’ repeated misrepresentations to this Court,

to Drummond, and to other courts across the country (as detailed in Drummond’s Renewed

Motion for Sanctions), the case for terminating sanctions is overwhelming.




1
  As is explained in further detail below, Mr. Collingsworth utilizes three email accounts: a Conrad & Scherer
account, which based on the production in this case appears to have been used sparingly; an IRAdvocates account,
which was Mr. Collingsworth’s primary email account; and a Gmail account, which Mr. Collingsworth has used for
some of the more incriminating communications discovered thus far.


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                                         STATEMENT OF FACTS

Introduction to Mr. Collingsworth’s Email Accounts

        Evidence uncovered to date2 shows that Mr. Collingsworth utilized at least three email

accounts     between      2008     and    March      22,       2013:    tcollingsworth@conradscherer.com,

tc@iradvocates.org, and terrypc56@gmail.com. Based on production to date, it appears that

much of Mr. Collingsworth’s email activity involved his IRAdvocates and Gmail accounts.3 For

example, production to date shows that Mr. Collingsworth used his IRAdvocates account to

write some of the most significant emails discovered thus far, including the following:

                Responding to concerns from his co-counsel that payments to Blanco will “likely
                 be viewed as a form of bribery” by stating that the alternative was Blanco “saying
                 Drummond has nothing at all to do with it” (Doc. 104 at 1, 8-10);

                Stating that El Tigre and Samario need to be paid $2,700 per month “at least until
                 we get the deps in the can” (Doc. 174-6);

                Stating “[i]f we don’t like what we see, we don’t pay” before paying $20,000 in
                 cash to a witness in Colombia4 (Doc. 104 at 6-8); and

                Transmitting a memorandum analyzing the propriety of payments to witnesses’
                 lawyers (Ex. 26).

Mr. Collingsworth also used his IRAdvocates account to correspond with Albert van Bilderbeek

2
  Drummond is still in the midst of expedited discovery on the issue of spoliation. Although Drummond made clear
its need to depose him immediately, Defendants refused to put Mr. Collingsworth up for deposition prior to August
17, 2015, and therefore Drummond has not yet had the opportunity to take his testimony. Ex. 1 (July 13, 2015
Correspondence). Other witnesses, including Bill Scherer and Juan Carlos Rodriguez, are presently scheduled to be
deposed the week of August 24. Id. Drummond reserves its right to supplement this motion with additional
evidence it uncovers between now and the evidentiary hearing.
3
  In fact, Mr. Collingsworth had an auto-forward rule on his Conrad & Scherer email account that simply pushed his
incoming emails from that account to his IRAdvocates mailbox. Ex. 2 (CS_TC 7204). There is also evidence that
Mr. Collingsworth specifically instructed people to use his IRAdvocates email address, rather than his Conrad &
Scherer address, when communicating with him. Ex. 3 (CS_TC 5535-36) (responding to a Dutch journalist’s email
sent to his C&S account and stating “we really need press and Drummond has been getting away with murder . . .
Please use my other email – tc@iradvocates.org”).
4
 Defendants told this Court that this was a “nontestifying expert witness” in the Dole case. Doc. 123 (Apr. 21, 2014
Hrg. Tr.) at 15:4-5. That, too, was apparently false. On May 5, 2015, a California state court ordered Mr.
Collingsworth to disclose this payment recipient’s identity. Ex. 4 (May 5, 2015 Order). That court-ordered
disclosure allowed Dole to discover that “this purported consulting expert is a former employee of a former
Dole subsidiary, and not a ‘consulting expert,’ but if anything, a fact witness.” Ex. 5 (Dole Joint Status
Statement) at 15 (emphasis added).

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regarding the defamatory letter to Itochu (Doc. 62-13), coordinate litigation funding efforts for

Balcero (Doc. 62-9), authorize witness payments (Doc. 174-5), communicate directly with

witnesses (Doc. 101-16), and discuss El Tigre’s Fiscalia testimony in which he disclaimed any

knowledge of Drummond’s complicity with the AUC. Ex. 6 (CS 820-830).

        Based on presently available evidence, it appears that Mr. Collingsworth used his Gmail

account for his most “sensitive” communications. For example, Mr. Collingsworth utilized his

Gmail account to confirm with Albert van Bilderbeek a $35,000 payment to Jamie Blanco. Doc.

174-20 at CS_TC 2827-2828.              Mr. Collingsworth also used his Gmail account to set up

telephone and Skype sessions with Albert van Bilderbeek. See Ex. 7 (CS 1041; 1105).

The Evidence Lost

        This case was filed in October 2011. See Compl. (Doc. 1). Since that time, Mr.

Collingsworth has destroyed or otherwise disposed of virtually every electronic device he had in

his possession, including:

       Device                Time Period Used                                    Status

Dell Latitude            Used as Conrad &                   Taken to an e-cycle recycling center (Ft.
laptop                   Scherer work computer              Totten Station5) in Washington, D.C., during
                         from May 2008 – March              the pendency of this case, where it was
                         2010, and thereafter used          destroyed. Ex. 9 (Williams Dep.) at 125-129
                         at Mr. Collingsworth’s             (“These devices, you know, were disposed of
                         home.                              and would have been during the course of
                                                            this litigation.”); id. at 154:9-13 (emphasis
                                                            added).

HP Compaq                Used as a Conrad &                 Taken to an e-cycle recycling center (Ft.
Desktop                  Scherer work computer              Totten Station) in Washington, D.C., during
                         from March 2010 – May              the pendency of this case, where it was
                         2010, and thereafter used          destroyed. Ex. 9 (Williams Dep.) at 125-129;
                         at Mr. Collingsworth’s             154:9-13.

5
  Ft. Totten Transfer Station “makes it easy for residents to dispose properly of solid waste, household hazardous
waste, unwanted electronic equipment and provides personal document shredding.” Ex. 8 (Ft. Totten Station
screenshot) (emphasis added).


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       Device               Time Period Used                                    Status

                        home.
MacBook Laptop          February 2011 – June This computer was “given away” after Mr.
                        2013                 Collingsworth had been served with
                                             Drummond’s first two sets of document
                                             requests in this case.          According to
                                             Defendants’ computer expert, Dennis
                                             Williams, Mr. Collingsworth told him that he
                                             gave this laptop to his niece in Brazil, where
                                             it was subsequently “stolen.” Ex. 9 (Williams
                                             Dep.) at 155. Prior to disposing of this
                                             computer, Mr. Collingsworth specifically
                                             instructed Conrad & Scherer IT personnel not
                                             to transfer any emails or other data off of it.
                                             Ex. 10 (CS_TC 7546).

Seagate 500 GB          January 2011 – at least This external hard drive, which was
external hard drive     December 8, 2014        purchased in January 2011 with the express
                                                purpose of storing “Terry’s files,” Ex. 11
                                                (CS_TC 11045), was used from 2011 through
                                                2014, and was plugged into Mr.
                                                Collingsworth’s desktop computer in Conrad
                                                & Scherer’s Washington, D.C. office as
                                                recently as December 8, 2014.          Ex. 9
                                                (Williams Dep.) at 171. It was specifically
                                                formatted for use with the MacBook, as well
                                                as with a PC. That external hard drive is now
                                                mysteriously missing.

ACER notebook           2008 – 2011                        Mr. Williams testified that this computer was
computer                                                   still in existence, but was reformatted within
                                                           the last year, resulting in the deletion of all
                                                           data and emails on the computer. Ex. 9
                                                           (Williams Dep.) at 10:2-22.

Apple iPad6             2010 – August 2013                 According     to   Mr.    Williams,    Mr.
                                                           Collingsworth’s iPad was “disposed of at a
                                                           computer recycling center” in August 2013.
                                                           Ex. 13 (Williams Report) ¶ 37 (emphasis
                                                           added); Ex. 14 (CS_TC 11183-86).
                                                           Mr. Collingsworth often worked from his
Unknown number          2008 - ?
                                                           “home office,” sent emails from his “home
6
 There is documentary proof that Mr. Collingsworth used his iPad to send emails relevant to this case, including
emails to Albert van Bilderbeek. Ex. 12 (CS 1036-1040).


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       Device        Time Period Used                           Status

of computers                                computers,” and archived thousands of emails
utilized at Mr.                             onto computers at his home. Ex. 9 (Williams
Collingsworth’s                             Dep.) at 122:24-123:7; 140:5-24.          Mr.
home for work                               Williams did not examine those computers,
purposes                                    and it is his understanding these computers no
                                            longer exist:

                                            A. And there were two other desktops there
                                            [at Mr. Collingsworth’s home].
                                            Q. What -- what are those?
                                            A. I don’t know.
                                            Q. So we don’t know whether those contained
                                            any of the emails we’re looking for today or
                                            whether they’re still in existence somewhere?
                                            A. We do not have access to those devices.
                                            Q. And do not know if they still exist, do we?
                                            A. My understanding is, they not -- they do
                                            not exist.

                                            Id. at 136:19-137:4 (emphasis added); see
                                            also id. at 137:21-138:6.

                                            Q. And it says there toward the end of that
                                            repair remark that the technician restored a pst
                                            file of over 8.5 gigabytes on that home PC?
                                            A. Yes, sir.
                                            Q. That's a very large email file, is it not?
                                            A. Yes, sir.
                                            Q. What PC is that?
                                            A. That should be the HP Compaq desktop.
                                            Q. Okay. Let's go down to "Equipment
                                            Information" by "Serial number." It says the
                                            word "dell."
                                            A. Okay.
                                            Q. Do you know whether that was the HP
                                            Compaq, whether that was the Dell laptop or
                                            whether that was just some other Dell
                                            computer?
                                            A. I'm not certain.
                                            Q. Okay. What we do know is, whatever that
                                            computer was, it had 8.5 gigs of emails on it
                                            of Mr. Collingsworth?
                                            MR. KUSIN: Objection. Form.
                                            A. It says they restored a pst file over 8.5


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       Device            Time Period Used                              Status

                                                   gigabytes.
                                                   Q. (BY MR. WELLS) And that was in
                                                   November of 2011?
                                                   A. Yes, sir.
                                                   Q. What we also know is, whatever that
                                                   computer is, you haven't analyzed it?
                                                   A. That's correct.
                                                   Q. So as far as you know, it does not exist
                                                   anymore?
                                                   A. That’s correct.

                                                   Id. at 140:8-141:14 (emphasis added).


        What is more, shortly after Drummond began serving discovery requests in this case, the

emails which were generated and/or stored using these various devices disappeared.               On

February 28, 2013, Drummond served its First Request for Production of Documents, and one of

those requests sought all of Mr. Collingsworth’s communications with Llanos Oil or its

principals, Hendrik and Albert van Bilderbeek. Doc. 43-6 at Req. No. 43. Production of those

communications would reveal the fact that Mr. Collingsworth assisted Albert van Bilderbeek in

funneling approximately $100,000 to Jaime Blanco, a fact Mr. Collingsworth had previously lied

about during the course of Balcero. Doc. 174 at 18-20. On April 3, 2013, Drummond served its

second set of requests for production, one of which requested all of Mr. Collingsworth’s emails

with Ivan Otero. Doc. 43-12 at Req. No. 8. Of course, it is now represented by Defendants that

Otero served as the conduit for not only the payments to Blanco, but also monthly payments to

El Tigre and Samario, facts which Mr. Collingsworth also concealed and lied about in Balcero.

Doc. 174 at 5-20.

        But before a single email was produced by Defendants in this case, Mr. Collingsworth’s

emails prior to March 23, 2013, vanished. As testified to by Defendants’ expert, at the time he



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became involved and looked at Mr. Collingsworth’s email accounts, there was nothing in Mr.

Collingsworth’s Conrad & Scherer Inbox, or in the Inbox or Sent Items of his IRAdvocates email

account, prior to March 23, 2013. Ex. 9 (Williams Dep.) at 65:13-66:23. Defendants’ expert was

able to fill in some of the gaps, but is still unable to retrieve emails for large and very critical

time periods:

               All incoming and outgoing emails from Mr. Collingsworth’s IRAdvocates email
                account are missing between June 2, 2008 and early- to mid-2010. Ex. 25; Ex. 9
                (Williams Dep.) at 54:19-64:17. It is in this time period when the payments to
                Charris were negotiated and began. It is also in this time period when the deal
                was struck with Ivan Otero—the criminal lawyer for numerous paramilitary
                witnesses against Drummond—for him to receive a substantial contingency fee in
                the cases against Drummond. Doc. 69 at ¶ 51.

               Virtually all incoming and outgoing emails from Mr. Collingsworth’s
                IRAdvocates email account are missing between mid- to late-2011 and March 23,
                2013. Ex. 25; Ex. 9 (Williams Dep.) at 54:19-64:17. During this time frame, Mr.
                Collingsworth was facilitating large lump sum payments to Jaime Blanco. It is
                also when Collingsworth was emailing regarding setting up monthly payments to
                El Tigre and Samario “until the deps are in the can.” In fact, the May 22, 2011
                “deps in the can” email is only in Defendants’ possession by virtue of the fact Bill
                Scherer was copied on it. There is no such email available from Mr.
                Collingsworth’s email accounts. Doc. 174-6.

               Incredibly, Defendants’ expert did not even bother to analyze Mr. Collingsworth’s
                Gmail account, and therefore he has no idea whether emails have also been
                deleted from it. Ex. 9 (Williams Dep.) at 72:3-21. He did confirm that no
                litigation hold whatsoever has been placed on that account. Id. at 92-93.

        In other words, all emails between Mr. Collingsworth and Francisco Ramirez, or other

Colombian “team” members involved in the payments to Charris, are irretrievably lost during the

time Mr. Collingsworth’s team began communicating with Charris and began making payments

to him. All emails between Mr. Collingsworth and Ivan Otero during the time his contingency

fee interest and initial $80,000 payment were being negotiated are gone. Likewise, all emails

between Collingsworth and Albert van Bilderbeek of Llanos Oil around the time Jaime Blanco

was signing his declaration, which we now know was made contingent on substantial payments


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by Mr. van Bilderbeek, are irrecoverable.               The same is true of emails between Messrs.

Collingsworth and van Bilderbeek during the time Mr. Collingsworth was drafting and sending

the defamatory letter to Itochu Corp. which precipitated this lawsuit.

        Defendants are also no longer in possession of litigation team member Lorraine Leete’s7

computers or hard drives, having failed to preserve those items before Ms. Leete left in

September 2014, in direct violation of this Court’s Order “to maintain and preserve in their

present form all computer servers, hard drives, email accounts, and all other electronic files or

data storage systems which have been utilized by Defendants’ litigation team during their entire

pursuit of litigation against Drummond.” Doc. 119 (Apr. 21, 2014 Order) at 1.8

                                           LEGAL ARGUMENT

        This Court’s authority to sanction Defendants for spoliation arises both from Federal

Rule of Civil Procedure 37 and from its “inherent power to manage its own affairs and to achieve

the orderly and expeditious disposition of cases.” Flury v. Daimler-Chrysler Corp., 427 F.3d

939, 944 (11th Cir. 2005). A default judgment is a permissible sanction under either source of

authority. Fed. R. Civ. P. 37(c)(2)(A)(iv); Flury, 427 F.3d at 944.

        Spoliation is the “‘the destruction or significant alteration of evidence, or the failure to

preserve property for another’s use as evidence in pending or reasonably foreseeable litigation.’”

Graff v. Baja Marine Corp., 310 Fed. App’x 298, 301 (11th Cir. 2009) (quoting West v.

Goodyear Tire & Rubber Co., 167 F.3d 776, 779 (2d Cir. 1999)). That is precisely what

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  Ms. Leete paid witnesses, Doc. 231-8 at CS_TC 3650, appears on correspondence relating to payments to
witnesses, id. at CS_TC 5475, drafted witness declarations, id. at CS 10222, and had substantial direct
communications with Ivan Otero. See, e.g., Doc. 101-16.
8
  Additionally, the emails and files of other members of Mr. Collingsworth’s litigation team, including Daniel
Kovalik, Francisco Ramirez Cuellar, Rebecca Pendleton and Ivan Otero have not been preserved or searched, in
direct violation of this Court’s express orders. Doc. 105; Doc. 111; Doc. 123 (Apr. 21, 2014 Hrg. Tr.) at 19:10-18;
Doc. 119; Doc. 101-4 at ¶ 10 (Daniel Kovalik, Francisco Ramirez Cuellar, Rebecca L. Pendleton, and Lorraine M.
Leete are “part of my current or former legal teams”); Doc. 69 at ¶ 51 (Ivan Otero is “a key member of our
Colombian team” and “a member of our legal team”).


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happened here: key evidence mysteriously disappeared while in Defendants’ sole custody or was

never preserved in the first place. Given these undisputed facts, only two questions remain for

the Court: (1) whether Defendants’ conduct with respect to this spoliation is sufficient to impose

sanctions, and if so, (2) what sanction should be imposed. In light of the repeated and serious

pattern of spoliation by Defendants, as well as the irreversible prejudice to Drummond, the entry

of a default judgment against Defendants is the only appropriate sanction.

I.      Default is Warranted Under this Court’s Inherent Authority Because Defendants
        Failed to Preserve, and Actively Disposed of, Critical Electronic Evidence

        Defendants’ destruction of—and utter failure to preserve—evidence violated their well-

settled duty to preserve evidence when litigation is “reasonably anticipated.”            Defendants

instituted no litigation hold, and as a result at least six of Mr. Collingsworth’s hard drives were

destroyed, deleted, or otherwise disposed of during this litigation. An untold number of his

emails during the most critical time periods relevant to this case are also irretrievably lost.

        A.     It is Undisputed that Defendants Violated Their Duty to Preserve Electronic
               Evidence Related to this Litigation

        “A party has an obligation to retain relevant documents, including emails, where

litigation is reasonably anticipated.” Managed Care Solutions, Inc. v. Essent Healthcare, Inc.,

736 F. Supp. 2d 1317, 1324 (S.D. Fla. 2010). Drummond filed the present lawsuit in October

2011. There is no question that a duty to preserve electronic evidence related to the allegations

in this case arose at least by October 2011.

        Defendants, as a sophisticated lawyer and law firm, should have imposed a litigation hold

and ensured that it was enforced. Swofford v. Eslinger, 671 F. Supp. 2d 1274, 1281 (M.D. Fla.

2009) (“‘It is not sufficient to notify employees of a litigation hold and expect that the

[employee] will then retain and produce all relevant information. Counsel must take affirmative

steps to monitor compliance so that all sources of discoverable information are identified and

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searched [and in this case, preserved.]’”) (quoting Zubulake v. UBS Warburg LLC, 229 F.R.D.

422, 432 (S.D.N.Y. 2004)). Defendants have never produced a litigation hold letter in this

litigation. Their expert has certainly never seen one. Ex. 9 (Williams Dep.) at 88:20 – 89:5. If

one was issued, then it was plainly ignored. Many pieces of critical electronic evidence have

now “disappeared” or were never preserved in a way that can be presently searched.

        B.     Considering the Applicable Factors, Severe Sanctions for Spoliation are
               Warranted.

        Federal law governs the imposition of sanctions for spoliation of evidence in a diversity

suit because spoliation sanctions are an evidentiary matter. Flury, 427 F.3d at 944. “[A] party

moving for sanctions must establish, among other things, that the destroyed evidence was

relevant to a claim or defense such that the destruction of that evidence resulted in prejudice.” Eli

Lilly & Co. v. Air Exp. Intern. USA, Inc., 615 F.3d 1305, 1318 (11th Cir. 2010) (citing Flury, 427

F.3d at 943). In addition to showing relevance and prejudice, the Eleventh Circuit requires a

showing of bad faith to support sanctions for spoliation: “‘While this circuit does not require a

showing of malice in order to find bad faith, mere negligence in losing or destroying records is

not sufficient to draw an adverse inference.’” Mann v. Taser Int’l, Inc., 588 F.3d 1291, 1310

(11th Cir. 2009).

        “The Eleventh Circuit also has explained . . . that in evaluating the need for sanctions,

federal courts look to factors enumerated in state law, because federal law does not set forth

specific guidelines regarding sanctions for spoliation.” Ray v. Ford Motor Co., 792 F. Supp. 2d

1274, 1279 (M.D. Ala. 2011) (citing Flury, 427 F.3d at 944). Accordingly, when deciding

whether to impose spoliation sanctions, Alabama federal courts often look to and apply the

factors delineated by the Alabama Supreme Court:

        (1) the importance of the evidence destroyed; (2) the culpability of the offending


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        party; (3) fundamental fairness; (4) alternative sources of the information
        obtainable from the evidence destroyed; and (5) the possible effectiveness of
        other sanctions less severe than dismissal.’

Danny Lynn Elec. v. Veolia Es Solid Waste, No. 2:09CV192-MHT, 2012 WL 786843, at *2

(M.D. Ala. Mar. 9, 2012) aff’d sub nom. Danny Lynn Elec. & Plumbing, LLC v. Veolia Es Solid

Waste Se., Inc., No. 2:09CV192-MHT, 2012 WL 1571314 (M.D. Ala. May 4, 2012) (quoting

Story v. RAJ Properties, Inc., 909 So. 2d 797, 802-03 (Ala. 2005)).

               1.       Relevance and Importance of Evidence.

        In order to warrant spoliation sanctions, it is not necessary to demonstrate that the

evidence lost would have been damaging to the spoliator’s case. See Evans v. Mobile County

Health Dept., No. CA 10-0600-WS-C, 2012 WL 206141, at *12 (S.D. Ala. Jan. 24, 2012) (“‘To

require a party to show, before obtaining sanctions, that unproduced evidence contains damaging

information would simply turn ‘spoliation law’ on its head.’”) (quoting Brown v. Chertof, 563 F.

Supp. 2d 1372, 1379 (S.D. Ga. 2008)). The evidence that is either missing or destroyed is highly

relevant to Drummond’s claims. Eli Lilly, 615 F.3d at 1318. As the Court is aware, the most

critical evidence discovered to date in this case has come in the form of emails, and has revealed

numerous misrepresentations by the Defendants both to Drummond and this Court. And as

explained above, the gaps in Mr. Collingsworth’s emails are during critically relevant time

periods in this case.

        This defamation case arose when Defendants wrote a series of letters to Drummond’s

customers and business partners stating as “objective facts” that Drummond conspired with a

terrorist organization and is guilty of mass murder and major human rights crimes. Defendants

premise their defense on the contention that Mr. Collingsworth had a subjective belief in the

truth of those statements because he reasonably relied on the testimony of several Colombian

paramilitary witnesses. Given this defense, evidence of substantial payments to these witnesses

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is clearly relevant to his reasonable belief in the truthfulness of the paramilitary testimony. It is

also plainly relevant to the credibility of these witnesses, should their testimony be offered to the

jury.

         One of those witnesses is Jairo de Jesus Charris. It is now known that Defendants have

been paying Charris a monthly salary since at least July 2009. Defendants and their “team” had

been meeting with Charris for some time prior to that—and prior to Charris ever providing

testimony claiming Drummond’s involvement with paramilitaries. Mr. Collingsworth’s emails

are missing during this critical time period (all of 2009), and therefore his discussions with

Charris, Francisco Ramirez (whose office makes the payments), and others involved in setting up

these payments are not available.

         Additionally, Drummond has already outlined for the Court the fact that paramilitaries El

Tigre and Samario never claimed to have knowledge regarding Drummond until their criminal

lawyer, Ivan Otero, was promised a contingency fee in the Drummond cases around December

of 2008.     Mr. Collingsworth’s emails during this time period are also missing, depriving

Drummond and this Court of the ability to discover the contemporaneous communications which

might shed light on the true purpose of this unheard-of contingency fee arrangement with a

witness’s criminal lawyer.

         Moreover, the gaps in Mr. Collingsworth’s email accounts coincide with declarations

relied upon9 and the payments made to El Tigre, Samario, and Jaime Blanco. For example, one

email that was lost from Mr. Collingsworth’s accounts was able to be discovered through third

party discovery and reflects Mr. Collingsworth’s intent to make monthly payments to El Tigre

and Samario “until the deps are in the can,” Doc. 174-6, and this Court has already noted the

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  Other evidence lost could include emails to or from Mr. Collingsworth which reflect that other witnesses were
saying that Drummond had no involvement with paramilitaries.


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importance of an email such as this in rebutting Defendants’ proffered explanation that their

witness payments were for “security.” Ex. 15 (May 21, 2015 Hrg. Tr. Excerpt) at 27:9-13 (“THE

COURT: . . . I have seen an email where Mr. Collingsworth tells others we need to keep up these

monthly payments until the deps are in the can. That doesn’t sound like security. That sounds

like ensuring a certain version of testimony.”).

        Without doubt, there is relevant evidence in the years’ worth of gaps in Mr.

Collingsworth’s emails, and Drummond is severely prejudiced by the loss of that evidence. See

Evans, 2010 WL 206141, at *11 (imposing sanctions for plaintiff’s burning of her computer that

contained emails and her “diary/narrative” of events at issue in the case and explaining that

“[t]here can be little doubt that evidence on plaintiff’s destroyed computer was important

because it would have filled in the months-long gaps in her narrative/diary.”).

               2.      Prejudice to Drummond.

        Drummond has been irreparably prejudiced by Defendants’ spoliation of evidence.

Searches on Collingsworth’s and Leete’s emails could provide evidence of their

contemporaneous intent in making the witness payments (as well as reveal other witness

payments). This type of evidence is “critically important to this case.” Flury, 427 F.3d at 946

(finding prejudice where defendant disposed of car that allegedly had manufacturing defect

because “spoliation of the vehicle forced experts to use much less reliable means of examining

the product’s condition.”). Defendants’ own expert emphasizes the importance of such evidence:

“During my years as an investigator, I have learned that contemporaneous information such as

emails that are occurring at the time, reflecting what is happening at the time can be more

reliable than information provided years later.” Ex. 9 (Williams Dep.) at 153:18-22. Here,

without contemporaneous emails, only the testimony of Mr. Collingsworth is available to prove



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the reason for the payments. Given his record of misrepresentations to Drummond and Court in

this matter—not to mention his interest in the outcome—requiring Drummond to rely solely on

Mr. Collingsworth’s testimony for any fact in this case is extremely prejudicial. Indeed, were it

not for the discovery of emails from sources other than Defendants, Drummond and this Court

would still be left to believe that they had found “the shortest way to the truth” by directly asking

Mr. Collingsworth what witnesses were paid and receiving the answer that it was “exactly three.”

Doc. 123 (Apr. 21, 2014 Hrg. Tr.) at 30:1-31:19.

        Because the spoliated evidence is now irretrievable, Drummond has been denied the

ability to search that critical electronic data for documents to test and challenge Defendants’

claim that the witness payments were not in exchange for testimony. This has become a key

issue in the litigation; spoliation of evidence related to this issue has caused substantial prejudice

to Drummond. See Graff v. Baja Marine Corp., 310 F. App’x at 302 (explaining that defendants

“suffered severe prejudice due to plaintiff’s [spoliation] conduct because the [destroyed

evidence] was the critical piece of evidence in this case” and because defendants were denied the

opportunity to test the evidence); Computer Assocs. Int’l v. Am. Fundware, Inc., 133 F.R.D. 166,

170 (D. Colo. 1990) (ordering default judgment and explaining that “[d]estroying the best

evidence relating to the core issue in the case inflicts the ultimate prejudice upon the opposing

party”).

               3.      Culpability of Defendants – Bad Faith.

        Defendants’ active disposal of evidence and their complete failure to preserve other

evidence bears all the hallmarks of bad faith conduct. Eli Lilly, 615 F.3d at 1318. To show bad

faith, Drummond need not have “evidence of intentional destruction of evidence” because “proof

of malicious destruction of evidence would rarely be available where one party has full control



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of the evidence.” Britton v. Wal-Mart Stores East, L.P., No. 4:11-cv-32, 2011 WL 3236189, * 13

(N.D. Fla. June 8, 2011). There is no dispute that all of the evidence at issue in this motion was

in the “full control” of Defendants.

        As an initial matter, Defendants did not preserve evidence for this litigation. Defendants’

expert admitted that, if a proper litigation hold had been put in place, then Defendants “should

have” Mr. Collingsworth’s missing emails that predate May 2010 and “should have” his missing

emails between January 2011 and March 2013. Ex. 9 (Williams Dep.) at 171:17-24; 96:3-9.

        This complete failure to make any effort to preserve evidence cannot be condoned.

Collingsworth is a lawyer. Conrad & Scherer is a law firm touted to have “the resources,

experience, and legal insight to handle the most complex factual and legal issues at any stage of

the dispute.” Ex. 16 (Conrad & Scherer webpage screenshot). These are sophisticated parties

who are well aware of their legal obligations to preserve evidence and the steps needed to do so.

A “party deemed to have knowledge as to the importance of evidence for litigation will be held

to a higher standard with regards to spoliation.” Cooper v. Toshiba Home Tech. Corp., 76 F.

Supp. 2d 1269, 1275 (M.D. Ala. 1999). This is not a case where “simple negligence” or a

“misunderstanding” led to the spoliation of evidence. Malautea v. Suzuki Motor Co., 987 F.2d

1536, 1544 (11th Cir. 1993). Defendants knew precisely what they were doing—and what they

were failing to do.

        Furthermore, Defendants lack any “credible explanation” for their conduct. Malautea,

987 F.2d at 1544. Defendants’ expert offers speculative hypotheses as to why the email gaps

exist, none of which are objectively verifiable. First, with respect to gaps in Mr. Collingsworth’s

emails that predate February 2010, he blames an IT company routinely used by Conrad &

Scherer for allegedly failing to properly transfer data from one computer (a Dell Latitude



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Laptop) to another (an HP Desktop). Second, with respect to the gaps that postdate January

2011, Mr. Williams postulates that, unbeknownst to everyone at Conrad & Scherer, including

Mr. Collingsworth, all of Mr. Collingsworth’s emails were being saved directly onto his

MacBook notebook (as opposed to or in addition to the Conrad & Scherer email server), and

those emails were therefore lost when Mr. Collingsworth gave the MacBook to his niece in June

2013 and it was later “stolen” in Brazil.

        Without even beginning to test the credibility of these explanations, the simple fact

remains: the gaps would not exist had Defendants not destroyed or otherwise disposed of these

computers during the course of this litigation. If the Dell Latitude Laptop still existed, it would

not matter if Conrad & Scherer’s contracted IT company had failed to properly transfer emails

stored on it. The emails could still be retrieved from the computer. If the MacBook had not

been disposed of two years into this litigation and after the first two sets of discovery requests

had been served on Mr. Collingsworth, there would be no missing emails during the critical 2011

to 2013 time period.

        Moreover, Defendants have not produced a single shred of objective evidence to support

their bizarre story about the disposal of the MacBook. Collingsworth supposedly gave his niece

his MacBook computer in 2013 to take to Brazil, where it was subsequently “stolen.” Prior to

“giving away” the MacBook, Collingsworth had already received two requests for production of

his emails in this case, but for some reason specifically instructed Conrad & Scherer IT

personnel NOT to transfer any emails or other data from the MacBook to his new computer. Ex.

10 (CS_TC 7546). Also, at the time of this “gift,” no one had done anything to secure, delete, or

otherwise remove any data from the MacBook, which was Mr. Collingsworth’s primary work

computer for more than two years and contained all of his privileged and confidential work



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emails. Ex. 9 (Williams Dep.) at 231:11-24. There is no independent evidence of this supposed

“gift” or the later (and rather convenient) “theft” of the laptop, such as a police report, insurance

claim, or even emails discussing the “fact” this computer was stolen.            Defendants’ expert

testified that he did not “follow[] up on the theft of the Mac,” and that he did not know (or even

ask for) the name of the niece to whom Collingsworth supposedly gave the MacBook. Id. at

157:15-158:12. Rather, the expert “relied on Mr. Collingsworth to tell [him] the truth.” Id. at

158:10-12.

        Defendants’ uncorroborated story would have this Court believe that Defendants first

committed a serious ethical breach by simply handing over this work computer—containing his

privileged emails with clients and colleagues as well as work-product-protected documents—to a

relative overseas. Defendants then ask this Court to believe Collingsworth’s statements that this

computer was coincidentally stolen. Defendants further ask this Court to believe that after this

supposed “theft” of a law firm computer, there were no emails whatsoever regarding the theft or

the potential disclosure of confidential client data or other privileged material.

        Also according to Defendants’ story, Mr. Collingsworth was no longer in possession of

years of his emails predating March 23, 2013 the instant he gave his MacBook to his niece in

June 2013. Significantly, Defendants have not produced a single email postdating June 2013 in

which Collingsworth tells another Conrad & Scherer employee that he cannot locate his emails

older than March 23, 2013. Defendants were clearly aware of the importance of such emails, as

their expert explicitly asked for them. Ex. 17 (CS_TC 11361). It is absolutely unbelievable that

there was not a firestorm regarding the loss of all of Mr. Collingsworth’s emails relating to years

of major litigation. Mr. Collingsworth describes his cases against Drummond as “particularly

complicated” and “complex,” Ex. B to Defs’ Opp. FoF (July 15, 2015 Collingsworth Decl.) ¶¶



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12 and 13, and states that he currently has “major cases” against nine other multinational

corporations. Id. at ¶ 11. Documentary evidence produced by the Defendants reflects that Mr.

Collingsworth accumulated “over 15,000 emails” just in his Inbox (i.e., not including his Sent

emails) over a seven month period. Ex. 18 (CS_TC 7538). That amounts to over 25,000 emails

per year. Id. For Defendants to contend that they simply lost several years worth of Mr.

Collingsworth’s case-related emails without realizing it, and then subsequently did nothing to

attempt to recover them, is not credible. Instead, it is evidence of bad faith.

        Even if Defendants’ story is true, they offer “no viable reason for taking such action [to

spoliate evidence] as opposed to simply retaining it pending the conclusion of this case or

transferring the information on the computer to a new computer.” Evans, 2010 WL 206141, *12

(finding bad faith where plaintiff burned her computer that contained important emails and other

documents relevant to case); Rosenthal Collins Group LLC v. Trading Technologies Int’l, No.

05-C-4088, 2011 WL 722467 (N.D. Ill. Feb. 23, 2011) (noting that it is “impossible to believe

that it is merely coincidence” that electronic data had been deleted after party was under

obligation to preserve). This case was almost two years old and Mr. Collingsworth had already

been served with two sets of document requests at the time he “gave away” his primary work

computer and specifically instructed that no data whatsoever should be transferred off of it. It

cannot credibly be argued this was done in good faith observance of his preservation obligations.

        The loss of this computer might not be so critical had a back-up of the emails stored on it

been available. It is undisputed that when the MacBook was purchased in January 2011, Conrad

& Scherer purchased a 500 GB external hard drive manufactured by Seagate with serial number

“na02nq70” (the “External Hard Drive’) for the purpose of “backing up [Mr. Collingsworth’s]

files, including his emails.” Ex. 9 (Williams Dep.) at 171:2-10, 187:13-20. This External Hard



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Drive was configured for use with both a PC and a Mac, so it could therefore be used to back up

emails from the MacBook. Id. at 191:22-192:17. There is documentary proof that this External

Hard Drive was used to archive emails from Mr. Collingsworth’s computers. Id. at 192:9-17;

Ex. 19 (CS_TC 7547-7548).

        Moreover, during his use of the MacBook, Mr. Collingsworth wanted all of his

“sensitive” emails to be backed up to an external hard drive. Ex. 20 (CS_TC 7540-41). Conrad

& Scherer employee Maggie Crosby stated that an external hard drive was used to periodically

archive Mr. Collingsworth’s emails. Ex. 21 (CS_TC 12161-62). The External Hard Drive was

in existence and in use up to December 8, 2014, when it was last plugged in to Mr.

Collingsworth’s desktop computer. Ex. 9 (Williams Dep.) at 171:18-22; Ex. 22 (CS_TC 10092-

10095). In other words, it was in existence long after this Court specifically ordered in April

2014 that all hard drives or other electronic storage devices be preserved in their present form.

That External Hard Drive is now missing, and there has been no factual explanation for its

disappearance.10 Defendants’ expert admitted that the explanation provided in his report (that it

was lost during an office move) was not based on anything anyone at Conrad & Scherer actually

told him, but was simply his “own surmise.” Ex. 9 (Williams Dep.) at 241: 14-17.

        The Court should not credit Defendants’ uncorroborated explanations of the missing

computers or the External Hard Drive. A recent case in this Circuit is instructive. In United

States ex rel. King v. DSE. Inc., 2013 WL 610531 (M.D. Fla. Jan. 17, 2013), the plaintiff-relator

stored recorded video diaries of relevant events on an external hard drive. He claimed that the

hard drive had been stolen but “did not produce any police reports documenting” the supposed



10
 At least three other external data storage devices were also plugged into Mr. Collingsworth’s desktop computer on
December 8, 2014. Although asked directly, Defendants’ expert could not answer whether these devices were also
missing, or whether he had examined them as part of his engagement. Ex. 9 (Williams Dep.) at 209:15-210:15.


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robbery. Id. at *8. He also “failed to take any precautions to preserve the video diaries.” Id. The

court concluded that the plaintiff’s “explanation for the alleged loss of video diaries is unworthy

of belief and is an attempt to mislead this Court and opposing counsel about this evidence.” Id.

Because of this and other discovery abuses, the court imposed terminating sanctions and

dismissed the plaintiff’s claims. Like the plaintiff in King, Defendants’ explanations that the

MacBook was stolen from his niece, and that numerous other computers were taken to the local

dump, are simply “unworthy of belief,” and the Court should reject them.

        Bad faith can also be inferred where the spoliator possessed the “motive and opportunity

to try to tamper with” the evidence. Bashir v. Amtrak, 119 F.3d 929, 932 (11th Cir. 1997). The

discovery of emails about previously-undisclosed paramilitary interviews and witness payments

would be very harmful to Defendants, not only in this case but in their numerous other cases

premised on the testimony of Colombian paramilitaries. In addition, all of the evidence at issue

was within Defendants’ sole control. They had both the motive and opportunity to destroy it or

let it be “disposed of” without making the required effort to preserve it.

        Defendants’ bad faith is also reflected by their deliberate concealment of the spoliation.

Defendants’ repeated misrepresentations regarding the scope, nature and extent of their witness

payments are well documented. Docs 174, 190 & 243. What Drummond did not know until

March 12, 2015, is that the Defendants also repeatedly lied regarding what documents they

actually had in their possession. Indeed, if Defendants’ story is to be believed, and Defendants

“disposed of” Mr. Collingsworth’s emails predating March 23, 2013, then that means Defendants

made numerous misrepresentations to Drummond, this Court, and other federal courts regarding

what documents they had in their possession.          As set out below, Defendants repeatedly

represented that they had searched all of their files, including Mr. Collingsworth’s emails, while



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simultaneously and falsely representing that no emails or documents had been deleted, and that

they had in their possession all of the documents Drummond had subpoenaed from third parties:

       Date                                      Representation

August 16, 2013    Conrad & Scherer, LLP represents to the United States District Court for
                   the District of Columbia that “in his capacity as Defendant in the libel
                   action and as counsel in the Balcero litigation, Mr. Collingsworth has
                   searched the files of IRAdvocates and has never taken the position that he
                   would not search IRAdvocates’ files.” Doc. 1 in Drummond Co., Inc. v.
                   Collingsworth, et al., 2:14-mc-00621-RDP at n.1.
                   Also on August 16, Christian Levesque, a Conrad & Scherer lawyer and
                   counsel of record in Balcero, signs a sworn declaration testifying that “Mr.
                   Collingsworth and his staff had searched all of IRAdvocates’ files for
                   responsive, nonprivileged documents in both this libel action and the
                   Balcero litigation.” Ex. 23 (Aug. 16, 2013 Levesque Decl.) ¶ 2.
                   If these representations are true, and Defendants searched their files, then
                   Defendants knew as of August 16, 2013, that all of Mr. Collingsworth’s
                   IRAdvocates emails prior to March 23, 2013 were gone.
August 16, 2013    Defendants move to quash Drummond’s subpoena to Parker Waichman,
                   LLP, submitting Mr. Collingsworth’s testimony that “[a]ny document that
                   Parker Waichman has or had in its custody, possession or control was
                   provided to them by me or my staff or I have the identical documents in my
                   custody, possession or control.” Doc. 101-3 (Aug. 16, 2013 Collingsworth
                   Decl.) ¶ 4. Mr. Collingsworth made the identical misrepresentation in a
                   sworn affidavit in support of IRAdvocates’ effort to quash Drummond’s
                   subpoena. Doc. 101-5 (Aug. 16, 2013 Collingsworth Decl.) ¶ 4.
                   This testimony was knowingly false. Mr. Collingsworth was clearly aware
                   that he did not have “the identical documents in [his] custody, possession or
                   control,” as he had already “disposed of” his emails.
September     23, Conrad & Scherer represents in a letter to Drummond that Mr.
2013              Collingsworth’s IRAdvocates’ email has been searched in response to prior
                  requests, stating “in previous productions Drummond has received emails to
                  or from Lorraine Leete and Terry Collingsworth…you received emails from
                  Terry Collingsworth, which included those with an ‘iradvocates.org’ email
                  suffix.” Doc. 118-7 (Sept. 23, 2013 C. Levesque Ltr.). If this is true, it is
                  impossible for Defendants not to have discovered that Mr. Collingsworth
                  had precisely zero emails in his IRAdvocates account prior to March 23,
                  2013.
March 18, 2014     Defendants send a letter representing that “[t]he following email accounts
                   and computers have been searched:

                           Terrence Collingsworth- searched tc@iradvocates.org;

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                         terrypc@gmail.com; and his work desktop and laptop.”

                 Doc. 101-6 (Mar. 18, 2014 B. Smith Ltr.). There is no disclosure of the fact
                 that years of Mr. Collingsworth’s emails are missing, which Defendants had
                 to know if they performed even the most cursory search of Mr.
                 Collingsworth’s emails. Nor is there any disclosure that a number of
                 computers he utilized during the most important time periods in this case no
                 longer exist.
April 2, 2014    Drummond moves for sanctions after Parker Waichman produces emails
                 that Defendants represented did not exist. In its motion, Drummond
                 requests the following relief:

                         Drummond requests that this Court order the Defendants to
                         produce the hard drives from computers utilized by
                         Defendants’ litigation team during their pursuit of litigation
                         against Drummond for forensic imaging and analysis by an
                         independent expert. Drummond also requests that this Court
                         order an independent forensic analysis of all file
                         management and email servers utilized by Defendants and
                         their litigation team. [. . .] Finally, Drummond asks that this
                         Court treat this motion as an emergency motion and render
                         an expedited ruling to ensure crucial evidence is preserved
                         and not destroyed.

                 Doc. 104 at 1-2.
April 14, 2014   Defendants file an opposition to Drummond’s motion for sanctions,
                 adamantly and falsely proclaiming that their document searches were
                 adequate and that no evidence had been destroyed or lost:

                         There is absolutely no issue of the propriety of Defendants’
                         searches or the completeness of their production. . . .

                         Defendants have now completed their document search and
                         supplemental log in full compliance with the Court’s
                         discovery Order. . . .

                         There is no evidence of any discovery violation, let alone
                         destruction      of    any       documents,      electronic  or
                         otherwise….Further, the objective record of Drummond
                         using this libel case to obtain evidence for the human rights
                         cases it could not otherwise obtain, and harassing
                         Defendants in the meantime, itself warrants denial because
                         “allowing [Drummond] to gain access to Defendants’ hard
                         drives . . . would permit . . . a fishing expedition.” . . .



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                             There is no evidence that Defendants ‘may have erased or
                             [are] withholding still other responsive documents’ as there
                             was in the Donziger case, Order, In re Application of
                             Chevron Corp., No. 1:10-mc-00002(LAK) (S.D.N.Y. Jan.
                             21, 2011) (Kaplan, J.) (ordering production of Defendant’s
                             hard drives for imaging by Chevron).

                     Doc. 114 at 1, 2, 17, 18.


        In the end, this “is a case of knowing and willful disregard for the clear obligation to

preserve evidence that was solely within the possession and control of the Defendants.” Swofford

v. Eslinger, 671 F. Supp. 2d at 1282 (concluding that “bad faith is clear” and imposing sanctions

for spoliation, including when the gun at issue in the case was “returned to the manufacturer”

rather than preserved). Not only that, Defendants misled both Drummond and this Court about it

for over a year.

               4.      Fundamental Fairness.

        Fundamental fairness also militates in favor of spoliation sanctions. It cannot be credibly

disputed that Mr. Collingsworth’s payments to witnesses and arrangements with their criminal

lawyers are critical issues in this litigation. As outlined above, Drummond has been deprived of

years of Mr. Collingsworth’s emails during the very times these payments and arrangements

were being instituted. Cf. Cooper v. Toshiba Home Tech. Corp., 76 F. Supp. 2d at 1275

(concluding that spoliation of certain evidence did not violate fundamental fairness because

“these items are not critical to the case before the court”). There may very well be emails prior

to these payments where these and other witnesses disclaim any knowledge about Drummond,

but this Court will never be able to see it. Fairness demands that Defendants not benefit from

their spoliation efforts and failure to preserve critical evidence.

               5.      Alternative Sources of Information.



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        The final factor for the Court to consider under Alabama law is whether there are

alternative sources of the missing and destroyed information. Although some of Collingsworth’s

and Leete’s emails were obtained from third parties (over Defendants’ repeated objections to this

effort), they are far from a reliable or complete set. Plus, documents (such as memoranda,

interview notes, or drafts of the defamatory letters) that had been saved on Collingsworth’s

MacBook, on Leete’s computer, or on the “missing” External Hard Drive are not available

elsewhere. By failing to preserve—or actively disposing of—that evidence, Defendants have

likely succeeded in preventing the parties and the Court from discovering all of the evidence

related to witness payments and developing a reliable understanding of the facts of the case.

Graff, 310 Fed. App’x at 301 (spoliation efforts “‘effectively prevented everyone—plaintiffs,

defendants, and the Court—from receiving more reliable test results’”) (quoting district court).

        C.      Default is the Only Appropriate Sanction.

        The only appropriate sanction is to enter a default judgment against Defendants.

Drummond has already explained to the Court how this case has become impossible to litigate

because neither Drummond nor the Court can rely on the primary alleged wrongdoer to testify

truthfully, either about the facts or the existence of critical evidence. Doc. 190. That fact alone

fundamentally cripples the just functioning of the adversary process. But when compounded

with the fact that, due to Defendants’ affirmative conduct, years worth of the documentary

evidence which could reveal the truth has been irretrievably lost, no sanction less than default

will suffice.

        As the Eleventh Circuit explained in imposing terminating sanctions, “[w]e cannot

imagine a case in which the evidence destroyed would prove more critical. The resulting

prejudice to defendant is incurable by any sanction other than dismissal.” Flury, 427 F.3d at 947.



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Entry of a default judgment under this Court’s inherent authority is more than justified.

II.     Sanctions are Also Warranted under Rule 37 Because Defendants Repeatedly and
        Willfully Violated This Court’s Orders to Preserve All Electronic Evidence

        In April 2014, this Court twice ordered Defendants to preserve all electronic evidence

related to their litigation against Drummond. After assuring the Court they would do so, Doc.

108 at ¶ 8, Defendants repeatedly and willfully violated these orders by failing to preserve

Lorraine Leete’s computers and emails, failing to preserve at least one External Hard Drive used

to store Collingsworth’s emails and files, and deleting email storage files (PSTs) and individual

emails from Collingsworth’s computer.

        A.     The Court’s Preservation Orders

        On April 3, 2014, one day after Drummond filed an Emergency Motion for Sanctions

(Doc. 101) requesting that Defendants’ hard drives be mirrored to prevent the loss or destruction

of evidence, the Court entered an order stating:

        Defendants are DIRECTED to maintain and preserve all hard drives and email
        accounts, in their present form, which have been utilized by Defendants’ litigation
        team during their entire pursuit of litigation against Drummond under further
        direction from the Court.

Doc. 105 (Apr. 3, 2014 Text Order). Following a hearing on April 21, the Court denied

Drummond’s request for forensic imaging of Defendants’ computers, but reiterated its previous

preservation order:

        Defendants SHALL continue to maintain and preserve in their present form all
        computer servers, hard drives, email accounts, and all other electronic files or data
        storage systems which have been utilized by Defendants’ litigation team during
        their entire pursuit of litigation against Drummond.

Doc. 119 (Apr. 21, 2014 Order), at 1.

        There is no ambiguity in these orders. Defendants were ordered to preserve all electronic

data, including hard drives and email accounts, used by any member of their litigation team in


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their litigation against Drummond.

        B.       Defendants Repeatedly Violated These Orders

        Defendants repeatedly violated these orders by failing to preserve electronic data used by

members of their litigation team. Specifically, Defendants:

                Failed to preserve the External Hard Drive that contained Collingsworth’s “files,
                 including his emails.” This hard drive was plugged into Collingsworth’s
                 computer as late as December 8, 2014, and is now mysteriously missing.

                Failed to preserve a copy of Collingsworth’s Gmail account.

                Failed to preserve Lorraine Leete’s laptop computer or her email accounts. Leete
                 used this computer for her work on the Drummond matters. Leete left
                 IRAdvocates in September 2014, taking her computer and email accounts with
                 her. Defendants have twice refused to accept service of a subpoena on her behalf,
                 including one in August 2013 when Leete still worked at IRAdvocates.

                Failed to preserve a copy of Collingsworth’s computer as it existed at the time of
                 the Court’s preservation order. Documentary evidence shows that on December
                 8, 2014 (the same day the missing External Hard Drive was last plugged in),
                 multiple PST files, as well as individual emails, were deleted from
                 Collingsworth’s computer. Ex. 9 (Williams Dep.) at 212:5-219:1.

                Failed to preserve Mr. Collingsworth’s Dropbox account, which the evidence
                 shows he used to “access my files.” Ex. 24 (CS_TC 11162).

Had Defendants followed the Court’s ruling, Conrad & Scherer would have copied all of all

these critical pieces of evidence immediately. Their failure to do so, resulting in the loss of

evidence, violates both the letter and the spirit of the Court’s orders. This violation is even more

severe given the fact that the Court gave Defendants the benefit of the doubt in ordering them to

preserve their electronic data rather than ordering the independent forensic imaging requested by

Drummond.

        C.       These Repeated Violations Support the Imposition of a Default Sanction

        To warrant the sanction of default under Rule 37, Drummond must show that these

violations were committed willfully or in bad faith. Malautea, 987 F.2d at 1542. A violation


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caused by “simple negligence, misunderstanding, or inability to comply will not justify a Rule 37

default judgment or dismissal.” Id. For the following reasons, Defendants’ violations were

committed willfully and in bad faith.

        First, the Court’s orders were clear—mandating preservation of all electronic evidence,

including hard drives and email accounts, for any member of Defendants’ litigation team. At no

time did Defendants request a clarification of the Court’s order or indicate that they were unable

to comply with it. They also did not inform the Court during the hearing on the Emergency

Motion for Sanctions that many years of Collingsworth’s email were already missing, but rather

falsely represented that there had been no loss of evidence whatsoever.

        Second, Defendants’ failure to preserve demonstrates a pattern of repeated violations.

Defendants did not fail to preserve one email account or even one computer, but rather several

electronic devices, several email accounts, and at least one remote data storage account used by

Collingsworth (Dropbox). Allstate Ins. Co. v. Palterovich, No. 04-21402, 2008 WL 274119

(S.D. Fla. July 12, 2008) (awarding default judgment based on defendant’s “pattern of willful

and bad faith disobedience of Court Orders as well as his discovery obligations.”).

        Third, no “credible explanation” exists for Defendants’ failure to preserve these devices

and email accounts. Malautea, 987 F.2d at 1544 (awarding default where “[n]either defendant

has provided a credible explanation of how it interpreted the discovery order not to encompass

the [discoverable] information.”). For example, with respect to the missing External Hard Drive,

even Defendants’ expert had no explanation for its disappearance. Ex. 9 (Williams Dep.) at 241:

14-17 (testifying that the conclusion in his report that the hard drive went missing in an office

move was his “own surmise, not something somebody specifically told [him]”).

        Fourth, there is no reason why Defendants were unable to comply with the Court’s order.



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Malautea, 987 F.2d at 1542 (identifying an “inability to comply” as a reason to excuse non-

compliance with court order). Defendants hold themselves out as a “highly reputable law firm”

which “has the resources, experience, and legal insight to handle the most complex factual and

legal issues at any stage of the dispute.” Doc. 187 at 4; Ex. 16. They clearly do not lack the

financial wherewithal to preserve this evidence, as they have retained at least four law firms to

represent them in this litigation and 13 lawyers have entered an appearance on their behalf.

There is simply no reason why Defendants could not have complied with these orders, especially

given the gravity of the circumstances which led the Court to enter them.

        Fifth, this electronic data was not “lost as a result of the routine, good-faith operation of

an electronic information system.” Fed. R. Civ. P. 37(e). The External Hard Drive, for example,

was not destroyed as a result of an internal Conrad & Scherer device destruction policy.

Certainly, Defendants’ failure to preserve the electronic data of litigation team member Lorraine

Leete was not the result of a “routine, good faith operation.” This is not akin to a situation where

a company recycles back-up tapes on a weekly basis and fails to stop the recycling process when

a litigation hold is in place.

        Sixth, Drummond sought forensic imaging of Defendants’ computers and email accounts

in its Emergency Motion for Sanctions on April 2, 2014. Defendants were on notice that

forensic imaging was a possible outcome of that motion (which was denied without prejudice).

The Court effectively gave Defendants a “second chance” by denying Drummond’s motion.

Defendants misled the Court into denying Drummond’s motion and then took advantage of the

Court’s ruling to engage in additional spoliation.

        Seventh, Collingsworth is a lawyer; Conrad & Scherer is a law firm. These are

sophisticated parties who are well aware of their legal obligations to preserve evidence and the



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steps needed to do so. A “party deemed to have knowledge as to the importance of evidence for

litigation will be held to a higher standard with regards to spoliation.” Cooper v. Toshiba Home

Tech. Corp., 76 F. Supp. 2d at 1275. Defendants’ complete failure to take any steps to comply

with this Court’s Orders and preserve Mr. Collingsworth’s and other litigation team members’

emails, hard drives and data should not be excused.

                                         CONCLUSION

        “Sanctions for discovery abuses are intended to prevent unfair prejudice to litigants and

to insure the integrity of the discovery process.” Flury, 427 F.3d at 944. It is difficult to

conceive of a situation where a party’s affront to the integrity of the judicial process could be any

more plain: Defendants have willfully disobeyed six court orders, Doc. 174-22 (Mar. 8, 2012

Balcero Mem. Op.); Doc. 63; Doc. 105; Doc. 111; Doc. 123 (Apr. 21, 2014 Hrg. Tr.) at 19:10-

18; Doc. 119, and have repeatedly lied in response to direct questions from a federal judge. Doc.

123 (Apr. 21, 2014 Hrg. Tr.) at 30:1-31:19; Doc. 174-3 (Mar. 8, 2012 Hrg. Tr.) at 8:20-9:7. It is

also difficult to imagine a case where a plaintiff has been more unfairly prejudiced. One of the

primary issues to be decided by the jury in this case is Mr. Collingsworth’s subjective state of

mind—his subjective intent in paying the witnesses upon whom he relies for the truth of his

defamatory statements and his subjective belief in those witnesses’ testimony.                   Mr.

Collingsworth has demonstrated the propensity to lie repeatedly about critical facts in this case,

only disclosing them when a document appears revealing the truth. It is now known that most of

the documents that could reveal the truth about what happened with these witnesses have been

irretrievably lost due to the affirmative acts of the Defendants, leaving the Court and Drummond

to rely solely on the testimony of Mr. Collingsworth to fill in the gaps. The prejudice of this




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result is incurable, and it undoubtedly cripples to the Court and Drummond’s efforts to uncover

the truth. Default is the only appropriate outcome.




Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 23, 2015, I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system which will send notification of such filing to the
following:

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                        Exhibit 2
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Message

From:           Terrence Collingsworth [TCollingsworth@conradscherer.com]
Sent:           4/21/20108:31:07 PM
To:             tc@iradvocates.org
Subject:        FW: Western Union Charris- PLEASE SEND TO MINDY AS FORM OF APPROVAL




From: Terry Collingsworth[SMTP:TC@IRADVOCATES.ORG]
Sent: Wednesday, April 21, 20104:35:10 PM
To: Susana Tellez; Terrence Collingsworth
Cc: Mindy K. Drath
Subject: RE: Western Union Charris- PLEASE SEND TO MINDY AS FORM OF APPROVAL
Auto forwarded by a Rule
Ok to pay



From: Susana Tellez [mailto:STellez@conradscherer.com]
Sent: Wednesday, April 21, 2010 4:27 PM
To: tC@iradvocates.org; Terrence Collingsworth
Cc: Mindy K. Drath
Subject: Western Union Charris- PLEASE SEND TO MINDY AS FORM OF APPROVAL


Terry, Please send to Mindy as form of approval. We need to send $800 for Charris regarding Drummond Matter
090501.


Mindy, please send the amount of $800 via Western Union to Gilma Yineth Baeza Acosta in Bogota, Colombia, and she
will get it to the corresponding people.


Thank you


Susana




Susana Tellez
Legal Assistant
Conrad & Scherer
1156 15th St. NW
Suite 502
Washington, DC 20003
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 1                        UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA
2                                SOUTHERN DIVISION
3

4    DRUMMOND COMPANY, INC.,             *
 5                Plaintiff,             *       2:11-cv-3695-RDP-TMP
6          vs.                           *       May 21, 2015
                                                 10:00 a.m.
7    TERRENCE P. COLLINGSWORTH,          *
     et al.,                                     Birmingham, Alabama
 8                                       *
                  Defendants.
 9

10   * * * * * * * * * * * * * * * * * * * * * * * * * *
11                           TRANSCRIPT OF HEARING
                      BEFORE THE HONORABLE R. DAVID PROCTOR
12                        UNITED STATES DISTRICT JUDGE
13   * * * * * * * * * * * * * * * * * * * * * * * * * *
14
     For the Plaintiff:         William Anthony Davis, III
15                              H. Thomas Wells, III
                                Benjamin T. Presley
16

17   For the Defendants:        Kenneth E. McNeil
                                Linda Eccles
18                              Robert K. Spotswood
                                Christopher S. Niewoehner
19                              William Thomas Paulk, II
20
     Also Present:              T. Michael Brown
21                              Special Master
22
     Court Reporter:            Leah S. Turner, RMR, CRR
23                              Federal Official Court Reporter
24

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 1   to a lot of discovery until the end of last year.
 2               THE COURT:      Well, there's no question I have it on
 3   both sides about a lackadaisical approach to discovery.
 4               MR. McNEIL:      This doesn't excuse my side, but I'm
 5   saying that there is a record that I think I can show you, but
 6   as to what's appropriate to help you make that decision, Your
 7   Honor, I'm for helping.           That's my goal.
 8               THE COURT:      Your take is that these are security
 9   payments.     You have given me expert testimony from a current
10   or former DEA agent in Houston saying that this is the law of
11   the jungle down there; right?
12               MR. McNEIL:      It is brutal.       I had no idea.       By the
13   way, you will find this gentleman very interesting.
14               THE COURT:      I already do.
15               MR. McNEIL:      He is one of those Americans that you
16   don't meet very often.         But, yes, absolutely.         And as we all
17   know, even in the U.S., under the -- you can just look at the
18   U.S. Marshal's website.           They have all kinds of witness
19   protection procedures and others, and I'm not -- I won't make
20   that argument right now, but I will tell you that --
21               THE COURT:      Let me ask you this.         How many times
22   does the United States give a witness protection until they
23   have testified?
24               MR. McNEIL:      A good bit.      I think it says 2500 --
25               THE COURT:      No.    You are missing the import of the
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 1   question.
 2               MR. McNEIL:      I'm sorry.
 3               THE COURT:      How many times has the United States
 4   agreed among themselves we need to give this witness testimony
 5   until the dep is in the can and then they are on their own?
 6               MR. McNEIL:      I wish I could give you a number right
 7   now, but I will get that number to you as part of this
 8   discovery.     I will.
 9               THE COURT:      My question really goes to this.                I have
10   seen an email where Mr. Collingsworth tells others we need to
11   keep up these monthly payments until the deps are in the can.
12   That doesn't sound like security.             That sounds like ensuring a
13   certain version of testimony.           Am I missing the mark there?
14               MR. McNEIL:      Let me say yes for the following
15   reason.     We all miss the mark when we read one document out of
16   context.     That's one of the great wonders of the courtroom.
17   Both sides are paid by good lawyers to fight that out.
18               I think -- just give one example and that's it, and
19   that is, for example, declarations -- and, look, I don't have
20   this firsthand knowledge.          This is just a general
21   understanding.       Declarations were provided.           Immediately at
22   that point in Colombia, threats were made.               Those can be
23   documented.      And the threat was that those people need some
24   protection while -- before depositions occur.                I think that
25   has a certain moral need, but you're the one that makes that
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                         C E R T I F I C A T I O N



             I hereby certify that the foregoing transcript
        in the above-styled cause is true and accurate.




                         Leah S. Turner, RMR, CRR
                     Federal Official Court Reporter
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